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 5
     Attorneys for Defendant
 6   TESLA, INC.
 7

 8                                UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10                                    (SAN FRANCISCO DIVISION)

11   NIKOLA CORPORATION,                            Case No. 3:18-CV-07460-JD

12                                                  NOTICE OF APPEARANCE OF
                    Plaintiff,                      JARED A. SMITH
13

14         v.
                                                    Hon. James Donato
15   TESLA, INC.                                    Ctrm: 11, 19th Floor

16
                    Defendant.
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                                                                Case No. 3:18-CV-07460-JD
                                                        NOTICE OF APPEARANCE OF SMITH
           Case 3:18-cv-07460-JD Document 161 Filed 12/16/21 Page 2 of 3




 1          PLEASE TAKE NOTICE that Jared A. Smith of Fish & Richardson P.C. hereby enters an

 2   appearance as counsel on behalf of Defendant Tesla, Inc. in the above-referenced matter.

 3

 4   Dated: December 16, 2021                          Respectfully Submitted,

 5                                               By:     /s/ Jared A. Smith
                                                        Jared A. Smith (CA SBN 306576)
 6
                                                        jasmith@fr.com
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11                                                     Attorneys for Defendant TESLA, INC.

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                                                        1              Case No. 3:18-CV-07460-JD
                                                               NOTICE OF APPEARANCE OF SMITH
            Case 3:18-cv-07460-JD Document 161 Filed 12/16/21 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that a true and correct copy of the above and foregoing

 3   document has been served on December 16, 2021 to all counsel of record who are deemed to have

 4   consented to electronic service via the Court’s CM/ECF system. Any other counsel of record will

 5   be served by electronic mail and regular mail.

 6

 7                                                        /s/ Jared A. Smith
                                                          Jared A. Smith|
 8                                                        jasmith@fr.com
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                                                      2                Case No. 3:18-CV-07460-JD
                                                               NOTICE OF APPEARANCE OF SMITH
